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                          EXHIBIT 1
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                                             CONFIDENTIAL

                            SETTLEMENT AGREEMENT AND RELEASE

                 This Settlement Agreement and Release ("Agreement") is made by and between Nancy
 Chapman ("Plaintiff") and BOK Financial Corporation and BOKF, NA and each of their respective
 affiliates and each of their respective officers, employees, agents, representatives, and business partners
 (collectively referred to herein as the "Company"). The Company and Plaintiff will collectively be
 referred to as "the Parties."

                1.     The Dispute. In connection with employment of Plaintiff with the Company, a
 dispute has arisen regarding the Plaintiff’s wages culminating in a civil action filed in the Northern
 District of Oklahoma captioned Nancy Chapman, et. al. v. BOK Financial Corporation, and BOKF, NA,
 Case No. 12-CV-613-GKF-PJC, as amended on November 28, 2012 (the "Dispute").

                2.      Statement of Purpose. The Parties now desire to resolve the above-referenced
 Dispute, and all issues raised, or that could have been raised therein, without the further expenditure of
 time or the expense of contested litigation. For these reasons, they have entered into this Agreement.

                 3.      Denial of Wrongdoing. The Company expressly denies any violation of any
 federal, state or local statute, ordinance, rule, regulation, policy, order or other law at issue in the
 Dispute. The Company also expressly denies any liability to Plaintiff or any other employee or former
 employee regarding the issues raised in the Dispute, or otherwise covered by this Agreement. This
 Agreement is the compromise of disputed claims, and nothing contained herein is to be construed as an
 admission of liability on the part of the parties hereby released, or any of them, by whom liability is
 expressly denied. Accordingly, while this Agreement resolves all issues regarding the released parties
 referenced herein, it does not constitute an adjudication or finding on the merits of the allegations in the
 Dispute and is not, and shall not be construed as, an admission by the released parties of any violation of
 federal, state, or local statute, ordinance, rule, regulation, policy, order or other law, or of any liability
 alleged in the Dispute. Moreover, neither this Agreement, nor anything in it, shall be construed to be,
 nor shall it be, admissible in any proceeding as evidence of, or an admission by, the released parties of
 any violation of any federal, state or local statute, ordinance, rule, regulation, policy, order or other law,
 or of any liability alleged in the Dispute. This Agreement may be introduced, however, in any
 proceeding to enforce the Agreement or as a defense to any claims released by the settlement. Such
 introduction shall be pursuant to an order protecting its confidentiality if one is available.

               4.     Monetary Consideration. In consideration of, and in return for, the promises and
 covenants undertaken and the releases given:

                          a.     Subject to the Court’s approval of this Settlement, the Company agrees to
 pay Plaintiff the total sum of $25,008.00, which will be paid as follows:

                             i.      One check for $12,504.00, made payable to Plaintiff for alleged
 non-wage damages (e.g. liquidated damages and/or interest), for which an IRS Form 1099 shall issue to
 Plaintiff.

                                 ii.    One check for $12,504.00, less all applicable deductions, made
 payable to Plaintiff for alleged lost wages and for which Plaintiff shall receive a W-2.



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                        b.      The Company will deliver the checks identified in this Paragraph for
 delivery by way of United Parcel Service Next Day Air addressed to Stueve Siegel Hanson LLP within
 ten (10) days of the Court’s order approving this settlement.

                5.     Attorneys’ Fees and Costs.

        a.       The Parties agree that, as part of this settlement, the Company will pay reasonable
 attorneys’ fees and costs attributable to Plaintiff to be determined by the Court.

         b.      Unless the Parties reach a subsequent agreement, the Court will finally determine any
 allowable and reasonable fees and costs, which the Company will pay to Plaintiff’s counsel for the
 benefit of Plaintiff’s counsel within ten (10) days of the Court’s determination. No party shall have any
 right to appeal the Court’s final determination of fees and costs.

 6.      The Company warrants, and Plaintiff acknowledges, that the monies described in Paragraph 4.a.
 are not required to be paid by any policy or procedure of the Company and that Plaintiff is entitled to the
 Monetary Consideration solely by virtue of this Agreement, which is a compromise regarding the
 Dispute. Furthermore, the Employee acknowledges that none of the monies described in Paragraph 4.a.
 shall be included as income for purposes of calculating any potential benefits under any Company
 benefit plan or policy.

               7.      Dismissal. Within seven (7) days after the Company’s payment of the both the
 Monetary Consideration and any allowable and reasonable Attorneys’ Fees and Costs which may be
 determined by the Court as provided in paragraphs 4 and 5 above, the parties will file a Stipulation for
 Dismissal with Prejudice.

               8.     Release. In consideration of, and in return for the promises and covenants
 undertaken herein by the Company, and for other good and valuable consideration, receipt of which is
 hereby acknowledged:

                         a.     Plaintiff hereby releases and forever discharges the Company, and each of
 its divisions, affiliates, subsidiaries, operating companies, and parents, past and present, and the
 respective officers, directors, employees, agents and affiliates of each of them, past and present
 (collectively, the “Released Parties”) from any and all wage and hour causes of action, lawsuits,
 proceedings, complaints, charges, debts, contracts, judgments, damages, and claims against the Released
 Parties, whether known or unknown, which Plaintiff ever had, now has or which Plaintiff or Plaintiff’s
 heirs, executors, administrators, successors or assigns may have prior to the date this Agreement is
 signed by Plaintiff, due to any matter whatsoever relating to Plaintiff’s compensation that was raised or
 could have been raised in this Dispute (collectively, the “Released Claims”). The Released Claims
 include, but are not limited to, any claim that any of the Released Parties violated the Fair Labor
 Standards Act or any other federal, state or local wage and hour statute, law, common law claim, tort,
 contractual claim, regulation or ordinance, whether for damages, penalties, attorneys’ fees and costs, and
 all other form of recovery. For the avoidance of doubt, this release includes, but is not limited to, all
 claims set forth in the Dispute, as well as any wage and hour claims by Plaintiff under any state or local
 law, statute, regulation, or ordinance, including but not limited to laws governing overtime or regular
 wages and/or the provision of meal and rest periods.

              9.     Governing Law. This Agreement shall be construed in accordance with, and be
 deemed governed by, the laws of the State of Oklahoma. Any suit filed to enforce any terms of this
 Agreement must be filed in federal court in Tulsa, Oklahoma. In any suit filed to enforce any terms of
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